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Exhibit B
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be .}

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Attomeys for Petitioner/Plaintiff
SUPERIOR COURT OF THE STATE OF CALIFORNIA

IN AND FOR THE COUNTY OF MONTEREY

Case No. M 46616

DOES I through XX, INCLUSIVE,

Respondents and
Defendants.

H-Y-H CORPORATION, a )
Delaware corporation, )
)

Petitioner and ) JUDGMENT GRANTING

Plaintiff, ) PEREMPTORY WRIT OF

) MANDATE

VS. )
)
COUNTY OF MONTEREY and )
)
)
)
)
)

This matter came regularly before this Court on J uly 26, 2000, for hearing. Both parties were
present through their respective attomeys. The record of the proceedings having been received into
evidence and examined by the court, and additional evidence having been received by the court,

arguments having been presented, and the court having made a statement of decisi on, which has been

signed and filed,

IT IS ORDERED that:

Ll. A peremptory writ of mandate shall issue from the Court commanding respondent
JUDGMENT GRANTING PEREMPTORY HYH CORPORATION v. COUNTY OF MONTEREY

WRIT OF MANDATE CASE NO. M-46616

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to continue to process the EIR, Specific Plan and zoning for the Rancho San Juan Area of
Development Concentration forthwith, consistent with statutory requirements for public notice, and
to diligently complete the certification of said EIR, the adoption of said Specific Plan, and zoning
for the ADC within a reasonable time period in accordance with the law. Nothing in this writ shall
limit or control the discretion legally vested in respondent, shall compel any particular result, nor
prevent respondent from specifically finding that the General Plan is inadequate and/or taking
appropriate action under Government Code Section 65858.

3. The Court has not made an award of attorneys’ fees or costs in this proceeding, but

will consider that upon submission of an appropriate motion or cost bill.

. RICHARD M. SILVER
Judge

DATED:  @.- 26-9)

JUDGMENT GRANTING PEREMPTORY HEYH CORPORATION v. COUNTY OF MONTEREY

WRIT OF MANDATE 4 CASE NO. M-46616

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Exhibit C
Case 5:06-cv-02369-JW Document 20-2

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SHERRI L. PEDERSEN
CLERK OF THE SUPERIOR COURT
DEPUTY

SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR THE COUNTY OF MONTEREY

H-Y-H CORPORATION, a
Delaware corporation,

Petitioner and
Plaintiff,
VS. .
_ COUNTY OF MONTEREY and

DOES I through XX, INCLUSIVE,

_ Respondents and
Defendants.

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Case No. M 46616

STATEMENT OF DECISION

The above-entitled cause came on regularly for trial on July 26, 2000 in the above entitled-

court, The Honorable Richard M. Silver, Judge, presiding without a jury and was tried.on that date.

Both parties were present through their respective attorneys,

By stipulation this matter was bifurcated and the trial herein was conducted only -as to the

first through fourth causes of action for writs of mandate, and the fifth, , sixth, and thirteenth causes

of action for declaratory relief and estoppel.

Oral and documentary evidence was introduced on behalf of the respective parties and the:

STATEMENT OF DECISION

HYH CORPORATION v. COUNTY OF MONTEREY .
CASE NO. M4661

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cause was argued and submitted for decision. The Court, having considered the evidence and heard

the arguments of counsel and being fully advised, makes the following statement of decision in

support of a Peremptory Writ of Mandamus ‘compelling COUNTY to continue to process the EIR

and Specific Plan for the Rancho San Juan Area of Development Concentration forthwith, consistent
with statutory requirements for public notice and to diligently complete the certification of the EIR
and adoption of the Specific Plan within a reasonable time period in accordance with the law.

lL. A principal controverted issue at trial was whether respondent could postpone further
processing of the EIR and Specific Plan for the Rancho San Juan Area of Development
Concentration until after an update of the General Plan. The Court has determined that respondent
must continue to process the Rancho San Juan EIR and Specific Plan forthwith, consistent with
statutory requirements for public notice and must diligently complete the certification of the EIR and
adoption ofthe Specific Plan within a reasonable time period in accordance with the law.

a. The Court based its decision on the following facts:

Petitioners are the owners of land in the Rancho San Juan area of North Monterey COUNTY.

}_ In 1982 COUNTY adopted the Monterey COUNTY General Plan. This plan designated the Rancho

San Juan area as an “Area of Development Concentration” (ADC) study area and deferred planning

in that area to the Greater Salinas Area Plan (GSAP). _ During the preparation of the GSAP

alternative ADC areas were.considered. An EIR was prepared forthe GSAP. The EIR was certified
and GSAP adopted by the COUNTY in 1986. The Rancho San Juan area was designated as an ADC

and the GSAP provided that no discretionary development could take place until a specific plan for

this area was adopted. In summary, the General Pjan deferred the planning of this area to the GSAP;
the GSAP deferred it to a Specific Plan; and discretionary development was thereby precluded until
adoption of the Specific Plan.

Shortly after adoption of the GSAP Petitioners were advised that COUNTY lacked funds to

prepare the Specific Plan and that current COUNTY policy then prohibited permitting Petitioners

|| to fund or prepare the Plan themselves. In January 1987 COUNTY did prepare and circulate | -

Requests for Proposals (RFP) for the Plan and sought funds from the State for a “Feasibility Study,”

STATEMENT OF DECISION . HYH CORPORATION v. COUNTY OF MONTEREY
CASE NO. M-46616

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an initial step in the Plan process. In 1989, with little progress in preparation of the Plan, Petitioners
submitted various documents as part of an application for development called North Monterey
Heights, which included a request for General Plan amendment to eliminate the requirement for a
Specifice-Plan for this limited development. In 1990 COUNTY decided to defer this application until
the Specific Plan was completed and adopted a Resolution designating certain lands as “Areas of
Benefit” to impose predevelopment fees to recover costs for the “Feasibility Study.” In addition they
also approved an agreement for preparation of the “Feasibility Study.”

The “Feasibility Study” was completed and accepted by COUNTY in September 1991. it
made recommendations including reductions in density below the GSAP and reduced water
consumption. In September 1992 COUNTY adopted an Ordinance amending the zoning in the
GSAP to conform to the General Plan, Rancho San Juan, including Petitioners’ property, was zoned
light industrial and high density residential.

Third parties who alleged that it violated CEQA challenged the zoning ordinance. In order

to settle that lawsuit, COUNTY asked Petitioners to pay COUNTY lawyer fees and agree to a
rescission of the ordinance as it nop lied to the ADC, pending timely completion of the Specific Plan |
consistent with the “Feasibility Study” and its reduced density and other recommendations.
Petitioners agreed.. In 1993, as part of their discussions, COUNTY also changed their policy and
adopted appropriate ordinances to allow private parties to reimburse costs of environmental studies
and plan processing.
Finally, in 1994, COUNTY adopted the agreement for preparation and processing of the EIR | |
and Specific Plan. At the same time COUNTY contracted with “The Planning Center” to act as
consultants to prepare the EIR and Plan. . The agreement established a schedule for completion and
adoption of the EIR and Plan that provided for completion of public hearings by December 1994,
Further, Petitioners agreed to accept the reduced densities suggested in the Feasibility Study.

Contemplated within the above agreements reached with Petitioners for both the payments
of money and the reduction in density was that COUNTY would proceed to complete the EIR and

Specific Plan in a timely manner. In this connection, the “Agreement for Preparation, Processing,

STATEMENT OF DECISION HYH CORPORATION v, COUNTY OF MONTEREY
CASE NO, M-46616

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and Reimbursement for Specific Plan and Environmental Impact Report? COUNTY specifically
agreed to “prepare and process a legally sufficient Specific Pian and EIR for the ADC as promptly
as possible.”

Since this time Petitioners have paid over $500,000.00 pursuant to the ordinance and
agreement. A portion of these funds went to the COUNTY.

Neither the EIR nor Plan was completed by the scheduled date in 1994. It was not until
December 1 998 that a Draft Plan and EIR were finally circulated for public review. The comment
period closed in March 1999 with over 400 comments. Shortly thereafter COUNTY informed
Petitioners that it was intending to commence a General Plan update and recommended postponing
farther processing of the Specific Plan and EIR until that was completed. Petitioners did not agree,
In May 1 999 the Chief of Planning Services recommended suspension of the processing of the Plan
and EIR until the General Plan update was completed. Petitioners again objected, Notwithstanding
Petitioners’ position, COUNTY has not proceeded with the processing of the Specific Plan and EIR. |
The purported time for completion of the General Plan Update is indefinite and could take multiple
years.

b. The legal basis for the Court’s decision is as follows:

Contrary to the argument of COUNTY, Petitioners do not seek any adjudication as to the
contents or substance of the Plan or the EIR nor to compel COUNTY to “legislate” in a particular.
manner. Nor do they claim any vested right to development. They only seek that COUNTY
complete the processing, certification, and adoption of both the EIR and the Plan. This is important
in that COUNTY has specifically precluded any discretionary development until the adoption of the
Specific Plan, Nothing herein shall compel any particular result nor prevent COUNTY from
specifically finding that the General Plan is inadequate and/or taking appropriate action under
Government Code section 65858.

The general plan is the “constitution” or “charter” for all land use within a COUNTY. City

of Sausalito v. County of Marin 12 Cal.App.3d 550 (1970). The preparation of a General Plan is

mandatory. Government Code Section 65300. No development may proceed unless and until there

STATEMENT OF DECISION RYH CORPORATION y. COUNTY OF MONTEREY
CASE NO. M-46616

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is a legally adequate General Plan and all other Plans and development must be consistent with the
General Plan. It is appropriate in the General Pian itself to specifically require and defer to the
preparation of Specific Plans for specialized or discreet areas. In this context Government Code
section 65450 provides that:

“After the legislative body has adopted a General Plan, the planning may, or if so
directed the legislative body, shall, prepare specific plans for the systematic
implementation of the general plan for all or part of the area covered by the
general plan.” . ,

Therefore, when the legislative body defers a specific area for preparation of a specific plan,
precludes all development until that is prepared, and directs the preparation of that plan, the adoption
of that specific plan becomes a part of the legislative bodies’ mandatory duty to prepare a legally

adequate general plan. Inthe instant case the General Plan did defer to the preparation of the Greater

|| Salinas Area Plan, which, in turn, deferred to the development of a specific plan for the area in

question. As a consequence COUNTY has mandatory duty to adopt a specific plan.

No statute or appellate case establishes a date certain by which the adoption of a Plan or
certification of an EIR must be completed. Obviously the times for completion of these tasks will
vary according to the particular circumstances and nature of the project. This issue presented herein
is whether COUNTY’ action in suspending processing and adoption of the Specific Plan and EIR
for an indefinite time while they consider whether the General Plan will be updated, given the

specific factual context of this case, is arbitrary, capricious, lacking in evidentiary support, or

contrary to procedures required by law.
COUNTY in part argues that the Court is without jurisdiction to compel completion of the

Plan and EIR because the “timing” is in itself'a legislative act. If this were the case COUNTY could,

|| at will, indefinitely delay the adoption of a mandatory plan without consequence and a landowner

could be precluded from bringing a “takings” action because no final decision on the permissible
scope of development had been reached. Although there is authority that a public entity may be
liable for a “temporary takings” where they delay a project beyond the “normal and/or reasonable

time to accomplish processing,” it could well be argued that 10 such takings could or should take

STATEMENT OF DECISION HYH CORPORATION v. COUNTY OF MONTEREY

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place until Petitioners take some action to compel action. Where there is a mandatory duty to act
and COUNTY has failed to so act, the Court does have jurisdiction ic determine whether that
decision is an abuse of discretion.

The delay here is not “short term.” It has been over 14 years. Only a very smal} part of that
delay was attributable to Petitioners. COUNTY’ excuse has generally been lack of money and/or
staff. Although these factors may certainly be considered, they do not end the inquiry where there
is a mandatory duty to act. No other plan or project has been delayed for this extended period of
time. Further, for a substantial period of me Petitioners have been funding the process pursuant
to the agreement with COUNTY. The lack of funds or staff does not justify the present action by
COUNTY and the extraordinary length of time already passed must be considered in determining
the legitimacy of further deiays. This length of time becomes even more critical where al]
development is precluded until the action is completed, no definite time for completion of the
General Plan update is contemplated, and the projected time period is in the range of multiple of

years not months. —

_ Another important factor is that COUNTY specifically contractually obligated itself to

complete the Plan and EIR by a date certain and extracted money from Petitioners in exchange

therefore.

Finally, COUNTY asserts that it is permissible ta extend the delay to update the General

Plan. Although the update ofa General Plan is an important and at times necessary action the issue -

| here is whether it legally justifies suspension of the preparation of this Specific Plan given the

findings above. There is no evidence that the completion of this Plan or EIR will substantially
interfere with the General Plan update process. T his action does not seek 10 compel any particular
substantive finding or requirement within the EIR or Plan. In fact, should the EIR identify specific
environmental issues they will be required to be addressed in the EIR and considered in the Plan.
Although COUNTY'’s supplemental brief “infers” thatthe General Plan may be “outdated” there has
been no specific finding of such. Ifthe General Plan is inadequate then all development must be

precluded. The COUNTY has not refused to process any other project because the General Plan was

STATEMENT OF DECISION BYH CORPORATION v_ COUNTY OF MONTEREY
. CASE NO, M-46616

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“outdated” nor have they taken any action pursuant to Government Code Section 65858,

Given the specific factual content of this case the Court finds that the decision of COUNTY
to suspend further processing of the Plan and EIR for an indefinite period is contrary to law.
(Government Code Sections 65103(b), 65300, and 65450; Public Resources Code Sections
21082.2(d) and 21091(4).)

2. A principal controverted issue at trial was whether COUNTY was compelled to adopt
zoning for Petitioner’ s property within areasonable time, The Court has determined that COUNTY
shall adopt zoning for Petitioner’s property forthwith, consistent with statutory requirements for
public notice, completing said process within a reasonable time period in accordance with the law,
(Goverment Code §65860.) .

a. The: Court based i Its decision on the following facts:

In September 1992 COUNTY adopted an Ordinance amending the zoning in the GSAP to
conform to the General Plan. Rancho San Juan, including Petitioners’ property, was zoned light
industrial and high-density residential.

Third parties who alleged that the rezoning violated CEOA challenged the zoning ordinance.

|| In order to settle that lawsuit, COUNTY asked Petitioner to pay COUNTY lawyer fees, agree to a

rescission of the Ordinance as it applied to the ADC, pending timely completion of the Specific Plan
consistent with the “Feasibility Study” and its reduced density and other recommendations.
Petitioners agreed. In 1993, as part of their discussions, COUNTY also changed their policy and
adopted appropriate ordinances to allow private parties to reimburse costs of environmental studies
and plan processing.

3. The Court has found the issue of declaratory relief concerning COUNTY’s duty to prepare,
process and adopt the Specific Plan, certify the EIR, and adopt a zoning ordinance within the ADC
moot based on the facts and legal reasons stated herein above.

4.0 A principal controverted issue at trial was whether COUNTY was estopped from denying

that Petitioners have a right to have COUNTY expeditiously complete the preparation, processing,

and adoption of a legally adequate Specific Plan and EIR. The Court has determined this issue is

STATEMENT OF DECISION HYH CORPORATION v. COUNTY OF MONTEREY
CASE NO. M-46516

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moot based on the facts and legal reasons stated hereinabove.

5. For the reasons articulated by Petitioner, the Court finds that Petitioner is not barred from .
proceeding herein for failure to exhaust administrative remedies.

6. The Court has found that Ordinance No. 04037 was validly enacted.

a. The Court based its decision on the reasons articulated by COUNTY,
specifically including COUNTY’s determination that Ordinance No. 04037 is consistent with the
General Plan, the Greater Salinas Area Plan (including Policy 26.1.4.1) and the Growth Management
Policy, and does not obstruct their attainment.

7. Judgment should be entered: .

a. Ordering a peremptory writ of mandamus to issue from this Court, directing
Respondent to continue to process the EIR, Specific Plan and zoning for the Rancho San Juan Area
of Development Concentration forthwith, consistent with statutory requirements for public notice;
and to diligently complete the certification of said EIR, and the adoption of said Specific Plan and
zoning within a reasonable time period .in accordance with the law; and

b. The Court has not made an award of attomeys’ fees or costs in this proceeding,
but will consider that upon submission of an appropriate motion or cost bill.

Let judgment be entered accordingly.

patep: J3-!-O*% - / Judge

C -RICHARD'M. SEVER

STATEMENT OF DECISION HYH CORPORATION y, COUNTY OF MONTEREY
CASE NO, M-46616

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SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR THE COUNTY OF MONTEREY

H-Y-E CORPORATION, 2

) ‘Case No. M 46616
Delaware corporation,
Petitioner end ‘ PEREMPTORY WRIT OF
Plaintiff, MANDATE:
VS,
COUNTY OF MONTEREY and \
DOES I through XX, INCLUSIVE, }
)
Respondents and ).
Defendants. j )
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TO: COUNTY OF MONTEREY, Respondent:
Indgment having been entezed in this action, ordering that @ peremp ory writ of mandate be
issued from this Court, . .
YOU ARE HEREBY COMMANDED immediately on receipt of this writ to continue 10
process the EIR and Spectfic Plan for the Rancho San Juan Area of Development Concentration
forthwith, consistent with statutory requirements for public notice, and to diligently complete the

certification of said BIR, the adoption of said Specific Plan and zoning for the ADC within &

EREMPTORY WRIT OF MANDATE H PORATION y,

OF} TEREY

Case 5:06-cv-02369-JW Document 20-2 Filed 07/10/06 Page 14 of 40
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reasonable time period in accordance with the law. Nothing in this writ shall limit or contro! the
discretion legally vested in you, shal] compel any particular result, ncr prevent you from specificaily

finding thatthe General Plan is inadequate and/or taking appropriate action under Government Code

Section 65858.

YOU ARE FURTHER COMMANDED to make and file a return to this writ-on or before.
Wiig a, 2h setting forth what you have done to comply.

DATED: _ FEB 2§ 20ft ‘SHERRI L. PEDERSEN, clek
y Deputy Clerk

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PEREMPTORY WRIT OF MANDATES HTH CORPORATION v. COUNTY DF MONTEREY
CASE NG. M-4ddié :

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Exhibit D
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Case 5:06-cv-02369-JW Document 20-2

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FILED
SANT 4 2005
LISA M. GALDOS

CLERK OF THE SUPERICR COURT
DEPUTY

THE SUPERIOR COURT OF CALIFORNIA
COUNTY OF MONTEREY
MONTEREY COURTHOUSE

LANDWATCH MONTEREY COUNTY, a

{| non-profit California Corporation, and

RANCHO SAN JUAN OPPOSITION
COALITION, an unincorporated association;

‘Plaintiffs and Petitioners,
vs.
COUNTY OF MONTEREY;
Defendant and Respondent

|H-Y-H CORPORATION, a Delaware

Corporation; and DOES I through XXV,
‘inclusive:

Defendants and Real Parties
In interest _

Case No.:

M72970

PETITION FOR WRIT OF MANDATE;
COMPLAINT FOR DECLARATORY AND
INJUNCTIVE RELIEF; COMPLAINT
FOR VALIDATION

(Cade Civ. Proc, §§ 1085, 1694.5, 863;
California Environmental Quality Act, Pub..
Res. Code § 21000 ef seg.; State Planning and
Zoning Law, Gov't Code § 65000 et seg.;
Monterey County Code.)

PETITION & COMPLAINT —

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_ Case 5:06-cv-02369-JW Document 20-2 Filed 07/10/06 Page 17 of 40

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INTRODUCTION
1, This Petition and Complaint challenges the December 14, 2004 actions of Respondent

COUNTY OF MONTEREY (“County”) approving general plan and area plan amendments, a specific

plan, zoning changes, amendments to the County subdivision ordinance, a vesting tentative subdivision

|| map, a development agreement, 2 development permit and other use permits, and certifying an

Environmental Impact Report (“EIR”) pursuant to the California Environmental Quality Act (“CEQA”),
Public Resources Code section 21000 ef seg., for the Rancho San Juan Specific Plan/Butterfly Village
Project (“Project”), a 2,58]-acre mixed-use residential, commercial, industrial, and recreational project
to be developed by real party in interest H-Y-H CORPORATION (“H-Y-H”). Petitioners and plaintiffs
LANDWATCH MONTEREY COUNTY and RANCHO SAN JUAN OPPOSITION COALITION
(collectively “Petitioners”) allege that the County approved the Project in violation of applicable
provisions of: (1) CEQA; (2) the State Planning and Zoning Law, Government Code section 65000 ef
seq.; and (3) applicable provisions of the Monterey County Code. Petitioners also allege that the County
improperly entered into a development agreement and granted other entitlements to H-Y-Hafter H-Y-

Il Hs corporate powers, rights, and privileges had been suspended by the Secretary of State, and it was

| unauthorized to transact business in California.

2. Petitioners seek a peremptory writ of mandate under Code of Civil Procedure section 1094.5
commanding the County to set aside its certification of the Environmental Impact Report and its
comesponding permits and/or approvals for the Project. Petitioners also seek a writ of mandate under
Code of Civil Procedure section 1085 commanding the County to bring its General Plan and zoning
ordinance into compliance with the requirements of the Planning and Zoning Law within 120 days, and
to set aside the Project-related General Plan amendment, zoning changes, subdivision ordinance
amendments, development agreement, and specific plan. Petitioners also seek a preliminary and
permanent injunction barring the County and H-Y-H from undertaking any activity that could
potentially alter the physical environment unless and until the County has taken all actions necessary to
bring its actions into conformance with CEQA, the State Planning and Zoning Law, and the Monterey
County Code. Petitioners further seek an order declaring the development agreement invalid, and other

entitlements null and void, due to H-Y-H Corporation’s forfeiture of its corporate powers, rights, and

PETITION & COMPLAINT 4

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privileges. Finally, Petitioners seck a stay of the effect of the County’s approval of the Proj ect during
the pendency of these proceedings.
PARTIES
LandWatch Monterey County
3. Petitioner LAND WATCH MONTEREY COUNTY (“LandWatch”) is a California non-profit

public benefit corporation exempt from federal income taxation under Section 501(¢}(3). of the U.S.

Internal Revenue Code. Its principal place of business is Salinas, California, LandWatch’s

| organizational purpose is to promote sound land use planning and legislation at the city, county, and

regional levels, to combat urban sprawl, and to promote livability in the region’s cities and towns,

} through public policy development, advocacy, and education. LandWatch is dedicated to preserving

economic vitality, high agricultural productivity, and environmental health in Monterey County by

encouraging effective public participation in the fand use planning process.

4. Land Watch’s members, directors, and staff include residents, taxpayers, and electors in
Monterey County who currently enjoy the multitude of aesthetic, recreational, and health benefits

| stemming from the current undeveloped state of the Project area. These include: clean air, preserved
{ natural resources, agricultural productivity, unobstructed views of the natural Jandscape, hiking trails,

and traffic levels significantly less than those they will experience if the Project preceeds,
5.  LandWatch’s members, directors, and staff have a clear and present right to, and beneficial

{| interest in, the County’s performance of its duties to comply with CEGA, the State Planning and Zoning

Law, and the Monterey County Code. As citizens, homeowners, taxpayers, and electors, LandWatch’ $
members, directors, and staff are within the class of persons to whom the County owes such duties.
6. LandWatch’s members, directors, and staff will also suffer direct injury as a result of the

| Project’s adverse environmental, public health, aesthetic, and land use impacts. These include: the
permanent loss of vast quantities of currently undeveloped open space and agricultural lands, blighting

of the area‘s landscape, air pollution associated with increased vehicle traffic from construction and
operation of the Project, permanent loss of habitat for plant and animal Species including species

protected under state and federal law, loss of recreational opportunities, increased traffic congestion in

PETITION & COMPLAINT 2

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the area, impacts to local water supply and water quality from poorly planned and inefficient land
development, and an overall decrease in quality of life.

“7. By this action, LandWatch seeks to protect the interests of its members, directors, and staff,
and to enforce a public duty owed to them by the County. Because the claims asserted and the relief
sought in this petition are broad-based and of a public as opposed to a purely private or pecuniary
nature, direct participation in this litigation by LandWatch’s individual members is not necessary,

8. Land Watch presented oral and written comments in opposition to the Project, including

| comments on the Draft EIR, to the County prior to and during the public hearings culminating in the
County’s December 14, 2004 approvals.

Rancho San Juan Opposition Coalition
9. Petitioner RANCHO SAN JUAN OPPOSITION COALITION (“the Coalition”) is an
unincorporated association of citizens, residents, property owners, and taxpayers in Monterey County.
The Coalition’s members currently enjoy the multitude of aesthetic, recreational, and health benefits
stemming from the current undeveloped state of the Project area. These include: clean air, preserved
natural resources, agricultural productivity, unobstructed views of the natural landscape, hiking trails,
and traffic levels significantly less than those they will experience if the Project proceeds.
10. The Coalition’s members have a clear and present right to, and beneficial interest in, the
County’s performance of its duties to comply with CEQA, the State Planning and Zoning Law, and the:
Monterey County Code, As citizens, homeowners, laxpayers, and electors, the Coalition’s members are

within the class of persons to whom the County owes such duties.

1]. The Coalition’s members will also suffer direct injury as a result of the Project’s adverse
environmental, public health, aesthetic, and Jand use impacts, These include: the permanent loss of vast

{Quantities of currently undeveloped open space and agricultural fands, blighting of the area’s landseape,
air pollution associated with increased vehicle traffic from construction and operation of the Project,

permanent loss of habitat for plant and animal species including species protected under state and
federal law, loss of recreational opportunities, increased traffic congestion in the area, impacts to local
water supply and water quality from poorly planned and inefficient land development, and an overall

| decrease in quality of life.

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| public duty owed to them by the County. Because the claims asserted and the relief sought in this
|| petition are broad-based and of a public as opposed to a purely private or pecuniary nature, direct
| Participation in this litigation by the Coalition’s individual members is not necessary.

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|| California. On December 14, 2004, the County, through its Board of Supervisors, approved general plan

|| CEQA for evaluating the environmental impacts of this Project. The County is also the entity

were forfeited in the state of California pursuant to Revenue and Taxation Code section 23302 as of
|| March 1, 2004, and remain forfeited as of January 11, 2005.

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12, By this action, the Coalition seeks to protect the interests of its members and to enforce a

13, The Coalition presented oral and written comments in opposition to the Project, including
comments on the Draft EIR, to the County prior to and during the public hearings culminating in the
County's December 14, 2004 approvals,

County of Monterey
14. _ Defendant COUNTY OF MONTEREY (“County”) is a political subdivision of the State of

and area plan amendments, a specific plan, zoning changes, subdivision ordinance changes, a vesting
tentative subdivision map, a.development agreement, a development permit and other use permits, and

certified an EIR under CEQA for the Project. The County is the “Lead Agency” responsible under

responsible under the State Planning and Zoning Law and the Monterey County Code for evaluating and
approving the Project with respect to its compliance with all applicable local planning, zoning, and land
use ordinances. Oo
H-Y-H Corporation

15. Reat Party In Interest H-Y-H CORPORATION (“H-Y-H”) is a Delaware Corporation
maintaining a California address at 655 Redwood Highway, Suite 332, Mill Valley. H-Y-H is the
applicant for and recipient of the land use entitlements and permits issued by the County for the Project
on December 14, 2004, and challenged herein.

16. The Secretary of State has certified that H-Y-H’s corporate powers, rights and privileges

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17. Petitioners currently do not know the true names of DOES I through XXV inclusive, and
therefore name them by such fictitious names. Petitioners will seek leave from the court to amend this
petition to reflect the true names and capacities of DOES I through XX’V inclusive once ascertained.

JURISDICTION AND VENUE
18. This action is brought pursuant to Public Resources Code sections. 21167 and 21168,

{| Government Code sections 6575 T and 65860, and Code of Civil Procedure sections 1085,1094.5, and

863. Venue is proper in the County of Monterey under Code of Civil Procedure section 395.
PROCEDURAL HISTORY AND AGENCY ACTION

19. The Project area consists of 2,581 acres and is located in northem portion of Monterey

|| County in a region known as the Greater Salinas Area. It is located just north of and adjacent to the City |

of Salinas within a general area bounded by the historic Bolsa de Escarpines Rancho boundary to the

| north, Crazy Horse Canyon Road and San Juan Grade Road to the east, Russell Road to the south, and
Highway 101 to the west. .

20, Land uses in the Project area are governed by the goals, policies, and objectives of the

| Monterey County General Plan and the Greater Salinas Area Plan. The land use, traffic and: circulation,
j}eonservation, safety, and noise elements of the General Plan were last updated in 1982. The housing

and open space elements were last updated in 1992. The Greater Salinas Area Plan was adopted in

|| 1985, and last updated in 1996,

21. On or about September 27, 2002, H-Y-H applied to the County for various land use
entitlements to develop the Project. The application sought amendments to the Monterey County

| General Plan and the Greater Salinas Area Plan, changes to the Monterey County Zoning Ordinance and

Subdivision Ordinance, and approvals of a specific plan, development permit, development agreement,

| vesting tentative map, and various other approvals. The County deemed the application complete on
| February 3, 2003.

22. The Project includes: 4,000 residential units, 373,000 square feet of retail/community space,
2.4 million square feet of light industrial/business park use, 243,000 square feet of office development,

an 18-hole golf course and clubhouse, a smal! hotel, parks, and open space. it is the largest single

|| development ever proposed in Monterey County.

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23. Onor about July 21, 2003, the County released a draft Rancho San Juan Specific Plan. The
County later revised the Specific Plan on or about March 15, 2004.
24. On or about May 18, 2004, the County filed a Notice of Availability and circulated a Draft

[EIR for the Project. The public review period was from May 19, 2004 to July 12, 2004.

25. Several interested agencies, private individuals, and organizations, including Petitioners,

provided written comments on the Draft EIR during the public comment period. State and local

agencies with jurisdiction over resources impacted by the Project also submitted comments.
26, In their comments, Petitioners and others challenged the scope and adequacy of the Draft

| EIR’s analysis of Project-related environmental impacts, its conclusions regarding the significance of

such impacts; and its recommendations for mitigating them. Petitioners and others also challenged the

| Project’s consistency with the General Plan and applicable regional plans.

27, Onor about November 8, 2004, the County released a Final EIR for the Project.

28. On December 2, 2004, the County’s Planning Commission held a public hearing on the
Project. Following the hearing, the Planning Commission adopted a resolution recommending that the
County Board of Supervisors: (a) not certify the Final EIR for the Project; (b) not adopt the.proposed
general plan and area plan amendments; (c) not adopt the proposed Rancho San Juan Specific Plan; (d)
not approve the proposed zoning changes; (e) deny the development permit; and (f) not approve the

| Proposed Development Agreement between H-Y-H and the County.

29. On December 14, 2004, the County Board of Supervisors conducted a hearing on the Project,

| at which Petitioners and others presented oral comments opposing the Project. Following the hearing,

the Board voted to reject the Planning Commissicn’s recommendations, and to adopt resolutions and
ordinances approving entitlements and permits for the Project, and certifying the Final EIR.

30. Included in the County’s recitals approving the General Plan and Area Plan amendments
were findings that the amendments were compatible and internally consistent with the County General
Plan and the Greater Salinas Area Plan.

31. Included in the County’s recitals approving the Rancho San Juan Specific Plan were findings
that the Specific Plan was consistent with the County General Plan and Greater Salinas Area Plan, and

would implement the goals and objectives of those plans in the Project area.

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32. Included in the County’s findings approving the Butterfly Village development permit were |
findings that the Project was consistent with the proposed Rancho San Juan Specific Plan, the Monterey

County General Plan, as proposed to be amended, and the Greater Salinas Area Plan, as proposed to be
amended. Also included were findings that the Project was in compliance with all rules and regulations

pertaining to zoning uses, subdivisions and any other applicable provisions of Title 21 of the Monterey

County Code (Zoning), as proposed to be amended.

33, Included in the County’s findings certifying the EIR for the Project were findings thar: (a) the

J EIR evaluated all potentially significant environmental impacts that could result from the approval of the
| Project, alternatives to the Project, and measures designed to mitigate or avoid the potentially significant

impacts of the Project; (b) the Project would cause certain significant environmental impacts that were
either less-than-significant, or that would be reduced to a jess-than-significant level as a result of
implementing feasible mitigation measures; (c) the Project would cause certain other significant adverse
environmental impacts that are unavoidable even after mitigation, and that no additional feasible _

| Mitigation measures are available to reduce these impacts to less-than-significant levels; and (d) that
| alternatives to the Project or the Project location that would reduce or avoid potentially significant
impacts, including a “No Project” alternative, as evaluated in the EIR, were infeasible or “less desirable”

due to economic, social, or other considerations.

34. The Board’s findings also included a finding that no facts, reasonable assumptions predicated

on facts, testimony supported by adequate factual foundation, or expert opinion supported by facts, had
|| been submitted that refute the conclusions reached by the studies, data, reports and analysis contained in
|i the Final EIR.

35. In adopting a statement of overriding considerations pursuant to Section 21080 of the Public
Resources Code, the Board found that economic, legal, social, technological, or other benefits of the
Specific Plan and HYH Project outweighed their unavoidable adverse environmental effects so that the

{adverse environmental effects may be considered “acceptable.”

36. The Board's findings certifying the EIR also included a finding that recirculation of a revised

| Draft EIR was not required because “amplifications and clarifications made to the Draft ERR in the Final

EIR do not collectively or individually constitute significant new information within the meaning of

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| BIR does not contain significant new inforraation, as defined in CEQA Guidelines Section 150885,

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| review and approval of the Project under Public Resources Code section 21067.

} significant éffects on the environment of the proposed project; (b) any significant effect on.the
| €nvironment that would be irreversible if the project is implemented: (d) mitigation measures proposed

| alternative locations; (f) the growth-inducing impact of the proposed project.

li Project were not significant and consequently were not discussed in detail in the EIR.

{| proposed project that cannot be avoided.

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Public Resources Code Section 21092.1 and CEQA Guidelines Section 1508.5, and because the Final

which would require re-cireulation of the modified sections or entire document.”

37. On December 16, 2004 the County filed and posted a “Notice of Determination” in
compliance with Public Resources Code section 21152.

38. On January 13, 2005, Petitioners served the County by mail with notice of commencement of
this action.

FIRST CLAGM FOR RELIEF
(Violation of CEQA)
39. Petitioners here incorporate by reference the preceding paragraphs in their entirety.

40. Atal times relevant to this action the County was the “Lead Agency” responsible for the

41. A Lead Agency may not approve a development project without performing the:
environmental review required by CEQA.

42. Under CEQA, the County was required to prepare an EIR that included an accurate, stable,
and finite project description, and a detailed statement setting forth all of the following: (a) all
environment that cannot be avoided if the project is implemented; (c) any significant effect on the

to minimize significant effects on the environment; (e) alternatives to the proposed project, including

43. Under Public Resources Code section 21110, the EIR was also required to contain a

statement briefly indicating the reasons for determining that various effects on the environment of the

44. Under Public Resources Code section 21 100(b)(2}(A), when preparing an environmental
impact report a Lead Agency must identify all significant effects on the environment caused by a

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45. Under Public Resources Code section 21100(b)(3), when preparing an environmental impact

report a Lead Agency must identify mitigation measures to-minimize significant impacts on the

jjenvironment. A lead agency may not improperly defer the fonnulation of mitigation measures until a

future time.
46. Under Public Resources Code section 21081(a), a Lead Agency may not approve a project

for which an EIR identifies a significant environmental impact unless the impact has been mitigated or

avoided by changes in the project or unless the agency specifically finds that overriding benefits

|| outweigh the significant effects on the environment.

Count One ~ Inadequate Project Description
47. Petitioners here incorporate by reference the preceding paragraphs in their entirety.
48. Under CEQA, an EIR must include a finite, stable, accurate and meaningful project
description. (14 C.C.R. § 15124,}
- 49. The EIR for this Project fails to include a complete, accurate, stable, finite, and meaningful
description of the Project as required by CEQA. The EIR’s project description omits key project
features that have the potential to cause significant impacts, including meaningful descriptions of the

Jandscape alternation and grading that will be required to construct the Project; the proposed uses of the

Project; the layout and nature of the Project’s improvements, lots, buildings, and infrastructure; and.the

| Construction activities required to build the Project.

50. The County therefore prejudicially abused its discretion in certifying the EIR, by failing to
proceed in the manner required by CEQA, and by adopting findings that are not supported by the
evidence.

Count Two — Inadequate Description Of Environmental Setting

51. Petitioners here incorporate by reference the preceding paragraphs in their entirety.

52. Under CEQA, an EIR must include a description of the physical environmental conditions in
the vicinity of the project as they existed at the time the notice of preparation is published, with

| particular focus on the regional setting. (14 C.C.R. § 15125.)

53. An EIR must also discuss any inconsistencies between the proposed project and applicable

| general plans and regional plans. (14 C.C.R. § 15125(c).)

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34. The EIR fails to include an accurate description of the Project's physical and environmental
setting, and fails to identify or discuss numerous inconsistencies between the Project and the Monterey

General Plan, the Greater Salinas Area Plan, and applicable regional plans, including the Monterey

County Water Resources Agency Ordinance No, 3539, the Monterey County Groundwater Ordinance
No. 4037, the Monterey Bay Unified Air Pollution Control District’s 2004 Air Quality Management

Plan, the Central Coast Regional Water Quality Control Board’s Water Quality Management Plan, the
Boronda Memorandum of Understanding, the City of Salinas General Plan, and the 2002 Monterey
County Regional Transportation Plan.

55. The County therefore prejudiciaily abused its discretion in certifying the EIR, by failing to
proceed in the manner required by CEQA, and by adopting findings that are not supported by the

| evidence.

Count Two - Failure To Evaluate Adequately All Significant Project Impacts
56. Petitioners here incorporate by reference the preceding paragraphs in their entirety.
57. Under CEQA, an EIR must identify and evaluate the direct, indirect, and cumulative

| environmental impacts of all phases of a project. (14 CCR. § 15126.) The-discussion must include

relevant specifics of the area, the resources involved, physical changes, alterations to ecological systems,

|pand changes induced in population distribution, population concentration, the human use of the land
including commercial and residential development), health and safety problems caused by the physical :
changés, and other aspects of the resource base such as water, historical resources, scenic quality, and

| public services. (14 C.C.R. § 15126.2)

58. The EIR for this Project fails to evaluate all the Project's significant direct, indirect, and

|| Cumulative impacts, including impacts on: aesthetics, agricultural resources, air quality, biological

resources, cultural resources, geology and soils, hazards and hazardous materials, hydrology and water

quality, land use and planning, raineral resources, noise, population and housing, public services,

tecreation, transportation and traffic, and utilities.

59. The County therefore prejudicially abused its discretion in certifying the EIR, by failing to
proceed in the manner required by CEQA, and by adopting findings that are not supported by the

evidence.

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Count Three — Failure To Evaluate Adequately All Feasible Mitigation Measures
60. Petitioners here incorporate by reference the preceding paragraphs in their entirety.
61. An BIR must describe and evaluate feasible measures for minimizing or avoiding.a project’s
direct, indirect, and cumulative impacts on the environment. (14 C.C.R. § 15126.4.)
62. The EIR for this Project fails to describe and evaluate all reasonable, feasible mitigation

{measures for the Project's direct, indirect, and cumulative impacts, including impacts on aesthetics,

agricultural resources, air quality, biological resources, cultural resources, geology and soils, hazards

and hazardous materials, hydrology and water quality, land use and planning, mineral resources, noise,

population and housing, public services, recreation, transportation and traffic, and utilities,

63. The County therefore prejudicially abused its discretion in certifying the EIR, by failing to
proceed in the manner required by CEQA, and by adopting findings that are not supported by the
evidence.

Count Four ~ Improper Deferral Of Mitigation .

64. Petitioners here incorporate by reference the preceding paragraphs in their entirety,

65. The EIR improperly defers to a future date evaluation of mitigation measures for Project

impacts, including those on aesthetics, agricultural resources, air quality, biological resources, cultural

| resources, geology and soils, hazards and hazardous materials, hydrology and water quality, land use

and planning, mineral resources, noise, population and housing, public services, recreation,
transportation and traffic, and utilities,
66. The County therefore prejudicially abused its discretion in certifying the EIR, by failing to

| proceed in the manner required by CEQA, and by adopting findings that are not supported by the

evidence.
Count Five - Inadequate Analysis of Project Alternatives
67. Petitioners here incorporate by reference the preceding paragraphs in their entirety.
68. An EIR must deseribe a range of reasonable alternatives to the project, or to the location of
the project, which would feasibly attain most of the basic objectives of the project but would avoid or

substantially lessen any of the significant effects of the projéct, and evaluate the comparative merits of

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}| the alternatives, (14 C.C.R. § 15126.6.) An EIR must include sufficient information about each

‘alternative to allow meaningful evaluation, analysis, and comparison with the proposed project. (id)

including alternative site designs, layouts, facilities placements, and configurations that would avoid or

minimize significant impacts.

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significant unavoidable impacts unless it finds, based on substantial evidence, that specific overriding
the environment.

impacts acceptable due to overriding economic, legal, social, technological, and other benefits of the

| Project.

| information is significant if the EIR is changed in a way that deprives the public of a meaningful

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69. The EIR fails to identify and evaluate a reasonable range of alternatives to the Project,

70. The County therefore prejudicially abused its discretion in certifying the EIR, by failing to
proceed in the manner required by CEQA, and by adopting findings that are not supported by the
evidence.

Count Six — Unsupported Statement Of Overriding Considerations
71. Petitioners here incorporate by reference the preceding paragraphs in their entirety.
72. Under Public Resources Code section 21081(b), an agency may not approve a project with

economic, legal, social, technological, or other benefits of the project outweigh the significant effects on

73. The EIR identifies several impacts as unavoidably significant, but the County found these

74, There is no substantial evidence in the record to support this finding. There is substantial
evidence in the record that disproves this finding.

75. The County therefore prejudicially abused its discretion in certifying the EIR, by failing to
proceed in the manner required by CEQA, and by adopting findings that are not supported by the
evidence.

Count Seven ~ Failure To Recirculate Revised Draft EIR
76. Petitioners here incorporate by reference the preceding paragraphs in their entirety,
77. Under Public Resources Code section 21092.1, a lead agency must recirenlate an EIR when

significant new information is added to the EIR following public review, but before certification. New

opportunity to comment upon a substantial adverse environmental effect of the Project.

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78. ‘In certifying the Final EIR, the County adopted findings that recirculation of the EYR-was not
required because “amplifications and clarifications” made to the Draft EIR in the Final BIR do not
constitute new information within the meaning of Public Resources Code section 21092.1.

79. The Final EIR certified by the County contains significant new information within the
meaning of Public Resources Code section 21092.1 that deprives the public of a meaningful opportunity
to comment upon a substantial adverse environmental effect of the Project.

80. The County therefore prejudicially abused its discretion in certifying the Final EIR, by failing
to proceed in the manner required by CEQA, and by adopting findings that are not supported by the

evidence.

SECOND CLAIM FOR RELIEF
(Violation of State Planning and Zoning Law)

81, Petitioners here incorporate by reference the preceding paragraphs in their entirety.

82. Under the Planning and Zoning Law, Government Code section 65000 ef seq., a local public

| agency may entitle a proposed land use only if the land use is consistent with the goals, policies, and
Objectives contained in a valid, current, internally consistent General Plan, and with all anpheable duly

| adopted zoning ordinances,

83. Government Code section 65 300.5 requires that a general plan and elements and parts thereof,
comprise an integrated, internally consistent and compatible statement of policies for the adopting
agency.

84. Government Code section 65302(b) provides that the circulation element of a general plan
shall be correlated with the land use element.

85. Government Code section 65103(a) requires a local planning agency, including the County,
to periodically review, and revise, as necessary, its general plan.

86. Government Code section 65751 provides that a writ of mandate under Code of Civil

| Procedure section 1085 may be obtained to challenge a general plan or element thereof on the grounds

that such a plan or element does not comply with the requirements for general plans set forth at

Government Code section 65300 er seg.

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87, Government Code section 65754 requires that where a court finds that a general plan or
element thereof does not comply with requirements for general plans set forth at Government Code
section 65300 ef seq., the County shall bring its general plan into compliance within 120 days.

88. Government Code section 65755 provides that the court may also order relief including
suspension of authority to issue permits, to grant zoning changes, and to grant subdivision map
approvals.

89. Code of Civil Procedure section 1094.5 provides that a court shall issue a writ of
administrative mandamus where a public agency, ina proceeding in which by law a hearing is required
to be given, has committed a prejudicial abuse of discretion. Abuse of discretion is established ifthe _|

| agency has not proceeded in the manner required by law, the order or decision is not supported by the

findings, or the findings are not supported by the evidence.
Count Eight — Invalid General Plan
90. Petitioners here incorporate by reference the preceding paragraphs in their entirety.

91. The Monterey County General Plan is incomplete, internally inconsistent, out-of-date, and

fails to comply with all applicable statutory criteria under the State Planning and Zoning Law.

92. The Monterey County General Plan therefore fails to comply with the requirements for

| general plans set forth at Government Code section 65300, ef seg.

Count Nine — Project Not Consistent With Valid, Current General Plan

93. Petitioners here incorporate by reference the preceding paragraphs in their entirety.

94. Atthe time of the County’s approvals of the Project and related General Plan and Area Plan
amendments challenged herein, the Monterey County General Plan was incomplete, internally
inconsistent, out-of-date, and failed to comply with all applicable statutory criteria under the Planning
and Zoning Law.

95. The Project is therefore not consistent with a valid, current, internally consistent General
Plan.

96. The Project further directly implicates the inadequacies of the General Plan,

97. The County’s action approving the Project was therefore arbitrary and capricious and/or

constituted a prejudicial abuse of discretion, in that the County failed to proceed in the manner required

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by the State Planning and Zoning Law, and adopted findings of General Plan consistency that are not
supported by the evidence.
Count Ten ~ Amendments Render General Plan Inadequate And Internally Inconsistent
98. Petitioners here incorporate by reference the preceding paragraphs in their entirety. -
99. The Planning and Zoning law requires General Plans to be internally consistent and that the

{circulation element be correlated with the land use element.

100. At the time of the County’s approvals of the Project and related General Plan and Area Plan

| amendments challenged herein, the Monterey County General Plan was incomplete, intemally
|inconsistent, out-of-date, and failed to comply with all applicable statutory criteria ‘under the Planning

and Zoning Law,
101. In approving the Project, the County amended the County General Plan.

102. As a direct result of these amendments, the County General Plan’s circulation element is not

| correlated with its land use element, and the General Plan is otherwise inadequate and imemally

inconsistent.

103. The amendments to the General Plan further directly implicate the pre-existing inadequacies

Lof the County General Plan.

104, The County’ s action in adopting General Plan amendments was therefore arbitrary and

capricious and/or constituted a prejudicial abuse of discretion, in that the County failed to proceed in the

manner required by the Planning and Zoning Law and adopted findings of General Plan consistency that

are not supported by the evidence.

Count Eleven — Area Plan Amendments Render General Plan Inadequate And Internally
Inconsistent
105, Petitioners here incorporate by reference the preceding paragraphs in their entirety.

106. The Planning and Zoning law requires General Plans to be internally consistent and that the
circulation element be correlated with the land use element.

107. in approving the Project, the County amended the Greater Salinas Area Plan, which is part of
the County General Plan.

108. At the time of the County’s approvals of the Project and related General Plan and Area Plan

amendments challenged herein, the Monterey County General Plan was incomplete, internally

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inconsistent, out-of-date, and failed to comply with all applicable statutory criteria under the Planning

|{ and Zoning Law.

109. The amendments to the Greater Salinas Area Plans are inconsistent with the goals, policies,

j and implementation plans in the County General Plan, including those concerning land use,

transportation, open space, conservation, and safety,
110. The amendments to the Greater Salinas Area-Plan further directly implicate the inadequacies

| of the County General Plan.

lil. Asa direct result of the amendments to the Greater Salinas Area Plan, the County General
Plan’s circulation element is not correlated with its land use element, and the Genera Plan is otherwise
inadequate and internally inconsistent,

“112. The County’s action amending the Greater Salinas Area Plan was therefore arbitrary and

{Capricious and/or constituted a prejudicial abuse of discretion, in that the County failed to-proceed in the

manner required by the Planning and Zoning Law and adopted findings of General Plan consistency that
are not supported by the evidence,
Count Twelve ~ Zone Changes Not Consistent With Adequate General Plan
113. Petitioners here incorporate by reference the preceding paragraphs in their entirety.

114. The Planning and Zoning Law requires that zoning ordinances be consistent with a valid,

current, internally consistent General Plan.

115. At the time of the County’s approvals of the Project and related General Plan and Area Plan
amendments challenged herein, the Monterey County General Plan was incomplete, internally
inconsistent, out-of-date, and failed to comply with all applicable statutory criteria under the Planning
and Zoning Law.

116. In approving the Project, the County adopted changes to the Monterey County zoning

ordinances that implement land use changes specified in the unlawfully adopted General Plan

amendments,

117. These zoning changes are inconsistent with the goals, policies, and implementation plans in

i the County General Plan, including those concerning land use, transportation, open space, conservation, |

and safety.

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118. The zoning changes further directly implicate the inadequacies of the County General Plan,

119, The County’s action in adopting these zoning changes was therefore arbitrary and capricious
and/or constituted a prejudicial abuse of discretion, in that the County failed to proceed in the manner
required by the Planning and Zoning Law and adopted findings of General Plan consistency that are not
supported by the evidence.

Count Thirteen — Subdivision Ordmance Changes Not Consistent With Adequate General Plan
120. _ Petitioners here incorporate by reference the preceding paragraphs in their entirety.
121. The Planning and Zoning Law requires that a local subdivision ordinance be consistent with

a valid, current, internally consistent General Plan.
122, At the time of the County’s approvals of the Project and related General Plan and Area Plan

|| 4amendments challenged herein, the Monterey County General Plan was incomplete, internally
‘|| inconsistent, out-of-date, and failed to comply with all applicable statutory criteria under the Planning

and Zoning Law.
123. In approving the Project, the County adopted changes to the Monterey County Subdivision

Ordinance pertaining to water supply that are inconsistent with the goals, policies, and implementation

| ‘plans in the County General Plan.

124, The changes to the Monterey County Subdivision Ordinance further directly implicate the
inadequacies of the County General Plan.
125. The County’s action adopting changes to the Subdivision Ordinance was therefore arbitrary

| and capricious and/or constituted a prejudicial abuse of discretion, in that the County failed to proceed in

| the manner required by the Planning and Zoning Law and adopted findings of General Plan consistency

that are not supported by the evidence.
Count Fourteen — Specific Plan Not Consistent With Adequate General Plan
126. Petitioners here incorporate by reference the preceding paragraphs in their entirety,
127, The Planning and Zoning Law requires that a specific plan be consistent with a valid, current,
internally consistent General Plan,

128. At the time of the County’s approvals of the Project and related General Plan and Area Plan

| amendments challenged herein, the Monterey County General Plan was incomplete, internally

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inconsistent, out-of-date, and failed to comply with all applicable statutory criteria under the State
Planning and Zoning- Law. .

129. in approving the Project, the County adopted the Rancho San Juan Specific Plan.

130. The Rancho San Juan Specific Plan is inconsistent with the goals, policies, and
implementation plans in the County General Plan, including those concerning land use, transportation,

|| open space, conservation, and safety.

131. The County’s adoption of the Ranchos San Juan Specific Plan further directly implicates the
inadequacies of the County General Plan.

132. The County’s action in adopting the Rancho San Juan Specific Plan was therefore arbitrary

| and capricious and/or constituted a prejudicial abuse of discretion, in that the County failed to proceed in

the manner required by the Planning and Zoning Law and adopted findings of General Plan consistency

|} that are not supported by the evidence.

Count Fifteen - Development Agreement Not Consistent With Adequate General Plan
133. Petitioners here incorporate by reference the preceding paragraphs in their entirety.

134. The Planning and Zoning Law requires that a development agreement be consistent with a

{ valid, current, internally consistent General Plan.

135. At the time of the County’s approvals of the Project and related General Plan and Area Plan

amendments challenged herein, the Monterey County General Plan was incomplete, internally

inconsistent, out-of-date, and failed to comply with all applicable Statutory criteria under the Planning
and Zoning Law.

136. In approving the Project, the County adopted a development agreement with H-Y-H
specifying certain terms and conditions under which the Project would be constructed and operated.

137. The development agreement is inconsistent with the goals, policies, and implementation
plans in the County General Plan, including those concerning land use, transportation, open space,
conservation, and safety.

138. The County’s adoption of the development agreement further directly implicates the
inadequacies of the County General Plan,

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139. The County’s action in adopting the development agreement was therefore arbitrary and
capricious and/or constituted a prejudicial abuse of discretion, in that the County failed to proceed in the

| manner required by the Planning and Zoning Law and adopted findings of General Plan consistency that

|| are not supported by the evidence.

Count Sixteen ~ Vesting Subdivision Map Not Consistent With Adequate General Plan
140. Petitioners here incorporate by reference the preceding paragraphs in their entirety.
141. The Planning and Zoning Law requires that a vesting tentative subdivision map be consistent
with a valid, current, internally consistent General Plan.
142. At the time of the County’s approvals of the Project and related General Plan and Area Plan
amendments challenged herein, the Monterey County General Plan was incomplete, intemally
inconsistent, out-of-date, and failed to comply with all applicable statutory criteria under the State

Planning and Zoning Law.

143. In approving the Project, the County approved a vesting tentative subdivision map for the

Project that is consistent with the goals, policies, and implementation plans in the County General Pian,

| including those concerning land use, transportation, open space, conservation, and safety.

144, The County’s approval of the vesting tentative subdivision map further directly implicates
the inadequacies of the County General Plan.

145. The County’s action in approving the vesting tentative subdivision map was therefore

arbitrary and capricious and/or constituted a prejudicial abuse of discretion, in that the County failed to
/proceed in the manner required by the Planning and Zoning Law and adopted findings of General Plan.

consistency that are not supported by the evidence.
THIRD CLAIM FOR RELIEF
(Approvals Invalid Due To H-Y-H’s Forfeiture Of Corporate Powers)

146, Petitioners here incorporate by reference the preceding paragraphs in their entirety.

147. Revenue and Taxation Code section 23301 provides that the exercise of the corporate
powers, rights and privileges of a foreign corporation in this state may be forfeited if any tax, penalty, or
interest that is due and payable under that Code is not paid by the due-dates stated in that section.

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148. Revenue and Taxation Code section 23302 provides that the Franchise Tax Board shall

| transmit the names of taxpayers to the Secretary of State as to which the suspension or forfeiture

provisions of Section 23301 are or become applicable, and the suspension or forfeiture therein provided

|| for shall thereupon become effective. The certificate of the Secretary of State shall be prima facie

evidence of the suspension or forfeiture.
149. The Franchise Tax Board transmitted the name of H-Y-H to the Secretary of State on March
1, 2004. The Secretary of State provided an executed certificate of forfeiture by H-Y-H to Petitioners on

|| January 11, 2005.

Count Seventeen — Invalidation Of Development Agreement Under C.C.P, § 863
150. Petitioners here incorporate by reference the preceding paragraphs in their entirety,

151, Code of Civil Procedure section 863 provides that any interested person may bring an action

| within the time and in the court specified by Section 860 to determine the validity of contracts entered

{into by a public agency.

152. The County’s development agreement with H-Y-H was illegal and improper because

| H-Y-H’s corporate powers, rights, and privileges had been forfeited pursuant to an order by the
Secretary of State on March 1, 2004, and H-Y-H was accordingly prohibited from transacting intrastate

{ business at that time, including applying for, receiving, holding, transferring, or acting in reliance on any

rights purportedly bestowed by the development agreement.

153. Petitioners are therefore entitled to an order declaring the development agreement illegal,

void, and of no effect.

Count Eighteen ~ Other Entitlements Null and Void
154, Petitioners here incorporate by reference the preceding paragraphs in their entirety.
155. At the time of the County’s December 14, 2004 action approving the General Plan and Area —

Plan amendments, zone changes, development permit, vesting tentative map, and other entitlements

} challenged herein, H-Y-H’s corporate powers, rights, and privileges had been forfeited in California.

156. H-Y-H therefore lacks capacity to conduct business in California, and may not receive, hold,

{| transfer, or act in reliance upon any of such approvals and entitlements.

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The County’s grant of such approvals and entitlements to a@ corporation ineligible to receive, hold,
transfer, or act in reliance upon them was therefore improper.
EXHAUSTION OF ADMINISTRATIVE REMEDIES
157. This action is brought consistent with the requirements of Public Resources Code section
21177 and Code of Civil Procedure 1094.5, Petitioners objected to the County’s approval of the Project |
orally or in writing duting the public comment period provided by CEQA, and/or prior to the close of
the public hearing on the project before the issuance of the Notice of Determination, Petitioners and/or

other agencies and individuals raised each of the legal deficiencies asserted in this petition orally or in

writing during the public comment provided by CEQA, or prior to the close of the public hearing on the

project before the issuance of the Notice of Determination.

138. Petitioners have performed all conditions precedent to filing this action by complying with

| the requirements of Public Resources Code section 21167.5 in serving notice of the commencement of

this action January 13, 2005.

INADEQUATE REMEDY AT LAW

159. . Petitioners declare that they have no plain, Speedy, and adequate remedy in the ordinary

course of law for the improper action of the County.

NECESSITY E OR GRANTING STAY OF COUNTY’S APPROVAL

160. Under Code of Civil Procedure section 1094,5(g), this Court may issue a stay order during
the pendency of the proceedings unless it is satisfied that a stay would be against the public interest.

161. If Project construction is allowed to commence prior to the Court’s final judgment on the
merits, Petitioners and the environment will be permanently and irreparably injured from the resulting
unmitigated environmental, aesthetic, recreational, and land use impacts.

162. Imposition of a stay would not be against the public interest in that the public will derive no

| benefit from the commencement of project construction prior to the Court’s final judgment.

NEWLY PRODUCED EVIDENCE
163. In accord with Code of Civil Procedure section 1094.5(c), Petitioners may, prior to or during
the hearing on this petition, offer additional relevant evidence that could not, in the exercise of

reasonable diligence, have been produced at the administrative hearing.

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ATTORNEYS’ FEES

164. Petitioners are entitled to recover attorneys’ fees as provided in Government Code section

| 800 if they prevail in this action and the Court finds the County’s action was the result of arbitrary and

{| Capricious action. Petitioners are further entitled to recover attorneys’ fees as provided in Code of Civil

Procedure section 1021.5 if they prevail in this action and the Court finds that a significant benefit has
been conferred on the general public or a large class of persons, and that the necessity and burden of
private enforcement is such as to make an award of fees appropriate.

PRAYER

| WHEREFORE, Petitioners pray for entry of judgment as follows:

1. For a peremptory writ of mandate directing the County:
(a) _ to set aside its December 14, 2004 action certifying an EIR for the Project;
(b) _ to set aside its December 14, 2004 action approving Project-related amendments to the

|| County General Plan and Greater Salinas Area Plan;

(c) to set aside its December 14, 2004 action approving the Rancho San Juan Specific Plan,

zoning changes, subdivision ordinance changes, development permit, vesting tentative map, and a

|{ development agreement for the Project;

{d) to refrain from granting any additional permits, entitlements, or other approvals related to

the Project to H-Y-H until the County has taken action necessary to bring its approval into compliance

‘with CEQA, the Planning and Zoning Law, and the County Code;

fe} to comply with CEQA in any subsequent action or actions taken to approve the Project.

(f) * to bring its General Plan into compliance with all applicable provisions of Govemment

Code section 65300, et seg. within 120 days.

2, For an order determining that the County’s action entering into a development agreement
with H-Y-H be determined to be illegal, null and void, and of no effect.
3. For an order declaring that H-'Y-H is ineligible to receive, hold, transfer, or act in reliance

on the permits and entitlements granted by the County on December 14, 2004 and challenged herein,

| and that such permits and entitlements are therefore null and void and of no effect.

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4, For an order staying the effect of the County’s actions pending the outcome of this

} proceeding.

5. For a preliminary and permanent injunction directing the County and H-Y-H to cease and

|| refrain from engaging in any action related to the Project that could result in any change or alteration in
{| the physical environment until the County takes any necessary action to bring its action into compliance
| with CEQA, the Planning and Zoning Law, and the County Code.

6. For their costs of suit.
7. For an award of attomeys’ fees.

8. For other legal or equitable relief that the Court deems just and proper.

Dated: January / 7, 2005 Respectfully submitted,
M.R. WOLFE AND ASSOCIATES

By:__: “2-

“Matk R. Wolfe
John H. Farrow

Attomeys for Plaintiffs and Petitioners
LANDWATCH MONTEREY COUNTY,
and RANCHO SAN JUAN OPPOSITION
COALITON

| PETITION & COMPLAINT 23

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2 1, Gary A. Patton, declare:
3 Lam the Executive Director of LandWatch Monterey County, the Petitioner in the
4 above-captioned action. 1 have read the foregoing PETITION FOR WRIT OF MANDATE;
5 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF; COMPLAINT FOR
6 CONTRACT VALIDATION and know the contents thereof. The same is true of my own
2 knowledge, except as fo those matters which are therein alleged on information and belief, and as
s to those matters, I believe them to be true.
9 Lam signing this document at Salinas, California, and affirm, under penalty of pexjury,
16 —« that the foregoing is true and correct.

12 Dated: January 12, 2004

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